     Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 1 of 22



                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


IN RE GSE BONDS ANTITRUST
                                           Case No. 1:19-cv-01704 (JSR)
LITIGATION




    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
     PRELIMINARY APPROVAL OF STIPULATION AND AGREEMENT OF
          SETTLEMENT WITH FIRST TENNESSEE BANK, N.A. &
                  FTN FINANCIAL SECURITIES CORP.
            Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 2 of 22



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
PROCEDURAL BACKGROUND................................................................................................. 2
ARGUMENT .................................................................................................................................. 2
I.        THE COURT IS LIKELY TO GRANT FINAL APPROVAL TO THE PROPOSED
          SETTLEMENT ................................................................................................................... 2
                     The Settlement Is Procedurally Fair Because It Was Achieved Through
                     Extensive Arm’s-Length Negotiation with the Assistance of a Respected
                     and Experienced Mediator (Rule 23(e)(2)(B)) ........................................................4
                     The Settlement Is Substantively Fair .......................................................................4
                                The Complexity, Expense, and Likely Duration of the Litigation
                                (Grinnell Factor #1) .................................................................................... 5
                                The Reaction of the Settlement Class (Grinnell Factor #2) ........................ 5
                                The Stage of the Proceedings and the Amount of Discovery
                                Completed (Grinnell Factor #3).................................................................. 5
                                The Risks of Establishing Liability and Damages
                                (Grinnell Factors #4, 5)............................................................................... 7
                                The Risks of Maintaining a Class Through Trial
                                (Grinnell Factor #6) .................................................................................... 7
                                FTN’s Ability to Withstand a Greater Judgment
                                (Grinnell Factor #7) .................................................................................... 7
                                The Range of Reasonableness of the Settlement Fund in Light of
                                the Best Possible Recovery and Attendant Risks of Litigation
                                (Grinnell Factors #8, 9)............................................................................... 7
                     The Remaining Rule 23(e)(2) Factors Support Preliminary Approval
                     of the Settlement ......................................................................................................9
                     1.         Rule 23(e)(2)(A) – Plaintiffs and Co-Lead Counsel Have
                                Adequately Represented the Settlement Class ............................................ 9
                                Rule 23(e)(2)(C) – the Monetary Relief, Cooperation, and
                                Remediation Measures Provided by Deutsche Bank Are Adequate,
                                Taking into Account the Costs and Risks of Further Litigation and
                                All Other Relevant Factors ....................................................................... 10
                                Rule 23(e)(2)(D) – the Settlement Treats Class Members
                                Equitably Relative to Each Other ............................................................. 11
II.       CERTIFICATION OF THE SETTLEMENT CLASS IS WARRANTED ...................... 11
III.      THE PROPOSED MANNER OF NOTICE IS THE BEST NOTICE
          PRACTICABLE UNDER THE CIRCUMSTANCES ..................................................... 11


                                                                      i
            Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 3 of 22



IV.       THE FORMS OF NOTICE ARE REASONABLE .......................................................... 13
CONCLUSION ............................................................................................................................. 14




                                                                    ii
           Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 4 of 22



                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

Beckman v. KeyBank, N.A.,
   293 F.R.D. 467 (S.D.N.Y. 2013) ...............................................................................................5

City of Detroit v. Grinnell Corp.,
    495 F.2d 448 (2d Cir. 1974), abrogated on other grounds by Goldberger v.
    Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000) ..................................................................3, 8

In re AOL Time Warner, Inc.,
    No. 02 CIV. 5575 (SWK), 2006 WL 903236 (S.D.N.Y. Apr. 6, 2006) ................................5, 7

In re Austrian and German Bank Holocaust Litig.,
    80 F. Supp. 2d 164 (S.D.N.Y. 2000), aff’d sub nom., D’Amato v. Deutsche
    Bank, 236 F.3d 78 (2d Cir. 2001) ..............................................................................................4

In re Cathode Ray Tube (CRT) Antitrust Litig.,
    No. 14-cv-2058, 2015 WL 9266493 (N.D. Cal. Dec. 17, 2015)................................................8

In re Crude Oil Commodity Futures Litig.,
    No. 11-cv-3600 (S.D.N.Y.)......................................................................................................12

In re Currency Conversion Fee Antitrust Litig.,
    01-MD-1409, 2006 WL 3247396 (S.D.N.Y. Nov. 8, 2006) ..................................................4, 8

In re Global Crossing Sec. and ERISA Litig.,
    225 F.R.D. 436 (S.D.N.Y. 2004) ...............................................................................................5

In re Libor-Based Fin. Instruments Antitrust Litig.,
    No. 11-md-2262 (NRB) ...........................................................................................................12

In re Linerboard Antitrust Litig.,
    292 F. Supp. 2d 631 (E.D. Pa. 2003) .........................................................................................8

In re Nasdaq Mkt.-Makers Antitrust Litig.,
    176 F.R.D. 99 (S.D.N.Y. 1997) .................................................................................................5

In re Nissan Radiator/Transmission Cooler Litig.,
    10 CV 7493 (VB), 2013 WL 4080946 (S.D.N.Y. May 30, 2013).............................................6

In re Packaged Ice Antitrust Litig.,
    No. 08-MD-01952, 2011 WL 717519 (E.D. Mich. Feb. 22, 2011) ...........................................8

In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig.,
    330 F.R.D. 11 (S.D.N.Y. 2019) ...................................................................................2, 3, 8, 10


                                                                 iii
            Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 5 of 22



In re Pressure Sensitive Labelstock Antitrust Litig.,
    584 F. Supp. 2d 697 (M.D. Pa. 2008) ........................................................................................8

In re: SSA Bonds Antitrust Litig.,
    No. 1:16-cv-3711(ER) (S.D.N.Y. Mar. 5, 2018) .......................................................................8

In re Warfarin Sodium Antitrust Litig.,
    212 F.R.D. 231 (D. Del. 2002) ..................................................................................................8

Laydon v. Mizuho Bank, Ltd.,
   No. 12-cv-3419 (S.D.N.Y).......................................................................................................12

Maley v. Del Glob. Techs. Corp.,
   186 F. Supp. 2d 358 (S.D.N.Y. 2002)........................................................................................1

Reade-Alvarez v. Eltman, Eltman & Cooper, P.C.,
   237 F.R.D. 26 (E.D.N.Y. 2006) .................................................................................................4

Sonterra Capital Master Fund Ltd. v. Credit Suisse Group AG,
   No. 1:15-cv-00871 (S.D.N.Y. Aug. 16, 2017) ...........................................................................8

Sonterra Capital Master Fund, Ltd. v. UBS AG,
   No. 15-cv-5844 (S.D.N.Y.)......................................................................................................12

Sullivan v. Barclays plc,
    No. 13-cv-2811 (S.D.N.Y.)......................................................................................................12

Wal-Mart Stores Inc. v. Visa U.S.A., Inc.,
   396 F.3d 96 (2d Cir. 2005).................................................................................................12, 13

Statutes, Rules, and Regulations

15 U.S.C.
   §1 note........................................................................................................................................6

Federal Rules of Civil Procedure
   Rule 23 .......................................................................................................................................3
   Rule 23.1 ..................................................................................................................................10
   Rule 23(b)(3) ............................................................................................................................12
   Rule 23(c)(2)(B).................................................................................................................12, 13
   Rule 23(e)...................................................................................................................................2
   Rule 23(e)(1)(B).......................................................................................................................11
   Rule 23(e)(2) ......................................................................................................................2, 3, 9
   Rule 23(e)(2)(A) ........................................................................................................................9
   Rule 23(e)(2)(B).........................................................................................................................4
   Rule 23(e)(2)(C).......................................................................................................................10
   Rule 23(e)(2)(C)(i) ...................................................................................................................10
   Rule 23(e)(2)(C)(ii) ..................................................................................................................10


                                                                        iv
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 6 of 22



Rule 23(e)(2)(C)(iii).................................................................................................................10
Rule 23(e)(2)(C)(iv) ...........................................................................................................10, 11
Rule 23(e)(2)(D) ......................................................................................................................11
Rule 23(e)(3) ........................................................................................................................3, 11




                                                                 v
        Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 7 of 22



                                       INTRODUCTION

       If approved, the FTN Settlement1 will create a Settlement Fund of $14.5 million (plus

interest earned between preliminary approval and distribution), identify and establish GSE

market specific antitrust compliance reforms, and obligate FTN to provide substantial

cooperation to Plaintiffs in pursuing their claims against the remaining Defendants.           The

Settlement Fund recovers 18.6% to 36.5% of FTN’s proportionate share of Plaintiffs’

preliminary estimate of class wide single damages potentially recoverable at trial.         FTN’s

cooperation is being provided at an early stage, as Plaintiffs litigate their claims under the

pressure of a May 4, 2020 trial date and a partial six-month discovery stay, thus enhancing the

value of the cooperation to Plaintiffs.     The Settlement also establishes important antitrust

compliance-remediation measures that Plaintiffs believe are critical to preventing and detecting

future anticompetitive conduct in the GSE Bond market.

       Based on their experience and knowledge of the claims and defenses at issue in this

Action, Co-Lead Counsel believe that the Settlement is in the best interests of the Settlement

Class. See Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 366 (S.D.N.Y. 2002) (stating

that ‘“great weight’ is accorded to the recommendations of counsel, who are most closely

acquainted with the facts of the underlying litigation”).2 Each of the Plaintiffs also wholly

supports the Settlement.

       The FTN Stipulation is essentially identical to the Deutsche Bank Stipulation (ECF No.

257-1), and to the extent there are differences, these differences are inconsequential to the class

1
        Unless otherwise defined herein, all capitalized terms have the same meaning as set out
in the Stipulation and Agreement of Settlement with First Tennessee Bank & FTN Financial
Securities Corp. (collectively, “FTN”) (the “Stipulation”), attached as Ex. 1 to the Declaration of
Christopher M. Burke (“Burke Decl.”), filed concurrently herewith.
2
       Unless otherwise noted, citations are omitted and emphasis is added.



                                                1
        Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 8 of 22



action settlement process.     Thus, if the FTN and Deutsche Bank Stipulations are both

preliminarily approved, Plaintiffs propose to combine notice of these settlements to the

Settlement Class and consolidate the claims process, distribution, and other settlement

procedures. The proposed notice plan is summarized in Exhibit 3 to the Burke Decl. and

described in this Memorandum. Also accompanying this filing is a proposed order granting

preliminary approval of the FTN and Deutsche Bank settlements (together, the “Settlements”)

and authorizing notice of their terms, which supersedes the prior proposed order granting

preliminary approval of the Deutsche Bank Settlement and its exhibits.

                              PROCEDURAL BACKGROUND

       Plaintiffs incorporate by reference the Procedural Posture set forth in their Memorandum

of Law in Support of Preliminary Approval of the Stipulation and Agreement of Settlement with

Deutsche Bank Securities, Inc. (ECF No. 256) (“Deutsche Bank Memo”), which was filed on

September 11, 2019.

                                         ARGUMENT

I.     THE COURT IS LIKELY TO GRANT FINAL APPROVAL TO THE PROPOSED
       SETTLEMENT

       Rule 23(e) requires court approval of a proposed class action settlement upon finding that

the proposal “is fair, reasonable, and adequate.” FED. R. CIV. P. 23(e)(2). The preliminary

approval process is governed by a “likelihood standard” – requiring the Court to assess whether

the parties have shown that “the court will likely be able to grant final approval and certify the

class.” In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., 330 F.R.D.

11, 28 n.21 (S.D.N.Y. 2019) (emphasis in original). Under the December 1, 2018 amendments

to Rule 23(e), in weighing preliminary approval, the Court must consider whether:

       (A)     the class representatives and class counsel have adequately represented the class;



                                                2
        Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 9 of 22



       (B)     the proposal was negotiated at arm’s length;

       (C)     the relief provided for the class is adequate, taking into account:

               (i) the costs, risks, and delay of trial and appeal;

               (ii) the effectiveness of any proposed method of distributing relief to the class,
                    including the method of processing class-member claims, if required;

               (iii) the terms of any proposed award of attorney’s fees, including timing of
                     payment; and

               (iv) any agreement required to be identified under Rule 23(e)(3); and

       (D)     the proposal treats class members equitably relative to each other.

FED. R. CIV. P. 23(e)(2). The Advisory Committee Notes to the 2018 Amendments indicate that

the amendments were meant to codify the existing preliminary approval process that is

customary in class action settlements in each circuit. Id. Therefore, “the new Rule 23 factors

add to, rather than displace, the Grinnell factors” traditionally considered in the Second Circuit

to evaluate the substantive fairness of a settlement during the preliminary approval process.

Payment Card, 330 F.R.D. at 29.

       Grinnell requires the Court to weigh the following factors to determine whether a

proposed settlement is fair, reasonable, and adequate:

       (1) the complexity, expense and likely duration of the litigation, (2) the reaction
       of the class to the settlement, (3) the stage of the proceedings and the amount of
       discovery completed, (4) the risks of establishing liability, (5) the risks of
       establishing damages, (6) the risks of maintaining the class action through the
       trial, (7) the ability of the defendants to withstand a greater judgment, (8) the
       range of reasonableness of the settlement fund in light of the best possible
       recovery, and (9) the range of reasonableness of the settlement fund to a possible
       recovery in light of all the attendant risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds

by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). In undertaking this review,

“a full fairness analysis is unnecessary at this stage; preliminary approval is appropriate where a




                                                 3
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 10 of 22



proposed settlement is merely within the range of possible approval.” Reade-Alvarez v. Eltman,

Eltman & Cooper, P.C., 237 F.R.D. 26, 34 (E.D.N.Y. 2006).

               The Settlement Is Procedurally Fair Because It Was Achieved Through
               Extensive Arm’s-Length Negotiation with the Assistance of a Respected and
               Experienced Mediator (Rule 23(e)(2)(B))

       To determine whether a settlement is procedurally fair, courts evaluate the process

undertaken to achieve it. The FTN Settlement is entitled to a presumption of fairness because it

was reached by capable counsel with the assistance of an experienced mediator, Jed D. Melnick,

Esq. In re Austrian and German Bank Holocaust Litig., 80 F. Supp. 2d 164, 173-74 (S.D.N.Y.

2000), aff’d sub nom., D’Amato v. Deutsche Bank, 236 F.3d 78 (2d Cir. 2001) (stating that where

a settlement is the “product of arm’s length negotiations conducted by experienced counsel

knowledgeable in complex class litigation,” the settlement enjoys a “presumption of fairness”).

       On July 8, 2019, the Parties engaged in mediation before Mr. Melnick who confirms that

the negotiation process was bona fide, at times extremely contentious, and advocated by

sophisticated and capable counsel on both sides. Burke Decl., Ex. 2, ¶7. After a full day of

mediation, the Parties remained far apart, and the mediation was suspended. Id., ¶5. Following

the mediation, the Parties remained in contact with each other and the mediator and continued to

explore the possibility of resolving this Action. Id., ¶6. On September 3, 2019, the Parties

reached an agreement in principle to settle this Action for $14.5 million, subject to agreement on

other material terms. Id.

               The Settlement Is Substantively Fair

       At preliminary approval, the Court “must make ‘a preliminary evaluation’ as to whether

the settlement is fair, reasonable and adequate.” In re Currency Conversion Fee Antitrust Litig.,

01-MD-1409, 2006 WL 3247396, at *5 (S.D.N.Y. Nov. 8, 2006). Where, as here, the Settlement

is achieved through a fair process and the Settlement’s terms are within the “range of possible


                                                4
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 11 of 22



approval,” preliminary approval is warranted. See In re Nasdaq Mkt.-Makers Antitrust Litig.,

176 F.R.D. 99, 102 (S.D.N.Y. 1997).

                      The Complexity, Expense, and Likely Duration of the
                      Litigation (Grinnell Factor #1)

       Plaintiffs incorporate by reference the Grinnell Factor #1 arguments set out in the

Deutsche Bank Memo.

                      The Reaction of the Settlement Class (Grinnell Factor #2)

       Plaintiffs incorporate by reference the Grinnell Factor #2 arguments set out in the

Deutsche Bank Memo.

                      The Stage of the Proceedings and the Amount of Discovery
                      Completed (Grinnell Factor #3)

       In assessing the fairness of a settlement at preliminary approval, the Court inquires as to

“whether the plaintiffs have obtained a sufficient understanding of the case to gauge the strengths

and weaknesses of their claims and the adequacy of the settlement.” In re AOL Time Warner,

Inc., No. 02 CIV. 5575 (SWK), 2006 WL 903236, at *10 (S.D.N.Y. Apr. 6, 2006); In re Global

Crossing Sec. and ERISA Litig., 225 F.R.D. 436, 458 (S.D.N.Y. 2004) (“[T]he question is

whether the parties had adequate information about their claims.”). Further, “[c]ourts encourage

early settlement of class actions, when warranted, because early settlement allows class members

to recover without unnecessary delay and allows the judicial system to focus resources

elsewhere.” Beckman v. KeyBank, N.A., 293 F.R.D. 467, 474-75 (S.D.N.Y. 2013).

       Co-Lead Counsel’s knowledge of the merits and potential weaknesses of Plaintiffs’

claims supports preliminary approval of the Settlement. Co-Lead Counsel undertook an eight-

month investigation, which included engaging two sets of experts who analyzed three datasets,

interviewing former GSE Bond traders, and reviewing publicly available information. Co-Lead

Counsel also briefed Defendants’ first motion to dismiss and, on September 23, 2019, opposed


                                                5
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 12 of 22



certain Defendants’ second motion to dismiss. Oral argument on the second motion to dismiss is

scheduled for September 27, 2019.

       In addition, Co-Lead Counsel participated in two initial proffer sessions involving

Deutsche Bank, which provided Plaintiffs with cooperation pursuant to the Antitrust Criminal

Penalty Enhancement and Reform Act of 2004 (“ACPERA”).3                Co-Lead Counsel also

participated in numerous follow-up proffers with counsel for Deutsche Bank, during which the

bank proffered key factual allegations that Plaintiffs incorporated in the operative complaint.

See, e.g., In re Nissan Radiator/Transmission Cooler Litig., 10 CV 7493 (VB), 2013 WL

4080946, at *7 (S.D.N.Y. May 30, 2013) (stating “[a]lthough the parties have not engaged in

extensive discovery, . . . the plaintiffs conducted an investigation prior to commencing the

action, retained experts, and engaged in confirmatory discovery in support of the proposed

settlement”).

       Discovery has also commenced. To date, Co-Lead Counsel have engaged in dozens of

meets and confers with Defendants, and some Defendants have begun to produce compliance

and other policy documents and organizational charts. Plaintiffs have also met and conferred

with Defendants about the scope of discovery regarding the four named Plaintiffs and are very

near agreement on all issues. Plaintiffs anticipate producing relevant and responsive documents

to Defendants in the coming weeks.

       Finally, Co-Lead Counsel have engaged in three full-day mediation sessions with

Deutsche Bank and FTN, separately.       In both mediations, Plaintiffs submitted mediation




3
       Pub. L. No. 108-237, §213(a)-(b), 118 Stat. 661, 666-668 (June 22, 2004), as amended by
Pub. L. No. 111-190, 124 Stat. 1275 (June 9, 2010), codified as amended at 15 U.S.C. §1 note.



                                              6
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 13 of 22



statements in which they discussed, among other things, the litigation risks Plaintiffs face in

pursuing their claims, as well as potential damages.

       Co-Lead Counsel ‘“have engaged in sufficient investigation of the facts to enable the

Court to “intelligently make . . . an appraisal” of the Settlement.’” AOL Time Warner, 2006 WL

903236, at *10. Accordingly, this factor weighs in favor of preliminary approval.

                      The Risks of Establishing Liability and Damages (Grinnell
                      Factors #4, 5)

       Plaintiffs incorporate by reference the Grinnell Factor #4 and #5 arguments set out in the

Deutsche Bank Memo.

                      The Risks of Maintaining a Class Through Trial (Grinnell
                      Factor #6)

       Plaintiffs incorporate by reference the Grinnell Factor #6 arguments set out in the

Deutsche Bank Memo.

                      FTN’s Ability to Withstand a Greater Judgment (Grinnell
                      Factor #7)

       Plaintiffs incorporate by reference the Grinnell Factor #7 arguments set out in the

Deutsche Bank Memo.

                      The Range of Reasonableness of the Settlement Fund in Light
                      of the Best Possible Recovery and Attendant Risks of
                      Litigation (Grinnell Factors #8, 9)

       In recommending that the Court preliminarily approve the Settlement, Plaintiffs have

taken into account estimated damages, the benefits and risks of continuing litigation against FTN

in light of the cooperation the bank has agreed to provide, and the range of possible outcomes in

the absence of the Settlement.

       Using the seven years of data that Deutsche Bank provided as cooperation, Plaintiffs

developed a preliminary damages model that estimates a range of class wide single damages



                                                7
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 14 of 22



potentially recoverable at trial of between $857 million and $1.68 billion.4 Given FTN’s market

share over the class period of 4.63% (Third Amended Complaint, ECF No. 254, ¶135 (Table 1)),

the $14.5 million Settlement Amount therefore represents 18.6% to 36.5% of FTN’s

proportionate share of the preliminary estimate. The Settlement does not alter the maximum

recoverable damages if Plaintiffs prevail at trial against the other Defendants. Burke Decl., Ex.

1, ¶9; see also In re Cathode Ray Tube (CRT) Antitrust Litig., No. 14-cv-2058, 2015 WL

9266493, at *6 (N.D. Cal. Dec. 17, 2015) (noting the right to seek entire damages from non-

settling defendants “provides increased value . . . by creating added incentive for the remaining

defendants to settle or allowing greater recovery for the Plaintiffs at trial”).         Plaintiffs

respectfully submit that the recovery from FTN is within the range of reasonableness.5

       The Settlement also delivers FTN’s cooperation to Plaintiffs in pursuing their claims

against the other Defendants. See In re Packaged Ice Antitrust Litig., No. 08-MD-01952, 2011

WL 717519, at *10 (E.D. Mich. Feb. 22, 2011) (recognizing value of early cooperation);

Pressure Sensitive Labelstock, 584 F. Supp. 2d at 702 (same); Linerboard, 292 F. Supp. 2d at

643 (same). FTN’s cooperation obligations include the production of data and documents,

4
       ‘“[T]he standard for evaluating settlement involves a comparison of the settlement
amount with the estimated single damages,’ not treble damages.” In re Warfarin Sodium
Antitrust Litig., 212 F.R.D. 231, 257-58 (D. Del. 2002).
5
        See, e.g., In re: SSA Bonds Antitrust Litig., No. 1:16-cv-3711(ER), ECF No. 431, at 2
(S.D.N.Y. Mar. 5, 2018) (preliminarily approving first-in settlement with Bank of America for
$17,000,000 and cooperation); Sonterra Capital Master Fund Ltd. v. Credit Suisse Group AG,
No. 1:15-cv-00871, ECF No. 159 (S.D.N.Y. Aug. 16, 2017) (preliminarily approving first-in
settlement with JPMorgan for $22,000,000 and cooperation); In re Currency Conversion Fee
Antitrust Litig., No. 01 MDL 1409, 2006 WL 3247396, at *6 (S.D.N.Y. Nov. 8, 2006)
(preliminarily approving settlements “representing roughly 10-15% of the credit transaction fees
collected by Defendants”); Payment Card, 330 F.R.D. at 49 (stating that the Second Circuit did
not take issue with original settlement recovery of “2.5% of the largest possible estimate of
actual damage to merchants”); Grinnell Corp., 495 F.2d at 455 n.2 (stating that “there is no
reason, at least in theory, why a satisfactory settlement could not amount to a hundredth or even
a thousandth part of a single percent of the potential recovery”).



                                               8
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 15 of 22



deposition and trial testimony, evidentiary declarations, and further cooperation that the Parties

agree to. Burke Decl., Ex. 1, ¶¶16-17. FTN is obligated to provide this cooperation until

judgment is final against all Defendants. Given this Action’s condensed pre-trial schedule, the

hurdle occasioned by the partial six-month DOJ discovery stay, and the May 4, 2020 trial date,

FTN’s cooperation will be an extraordinarily valuable resource to Plaintiffs in pursuing their

claims against the remaining Defendants.

       Importantly, FTN has also agreed to establish and maintain antitrust-compliance

remediation measures so long as it is engaged in the GSE Bond market. Burke Decl., Ex. 1,

¶¶18-19.   These measures include FTN’s agreement to maintain a GSE specific antitrust-

compliance policy that satisfies five identified objectives – rigorous compliance training;

established culture of compliance; strong oversight; dedication of corporate resources; and robust

risk assessment.    Id., ¶18.   In addition, FTN has committed to meet periodically with

Pennsylvania Treasury to discuss its policies, and provide cooperation relating to antitrust-

compliance best practices in the GSE Bond market. Id., ¶19. Plaintiffs believe these measures

are necessary to preventing and detecting future anticompetitive conduct in the GSE Bond

market and indispensable to restoring market integrity.

               The Remaining Rule 23(e)(2) Factors Support Preliminary Approval of the
               Settlement

               1.     Rule 23(e)(2)(A) – Plaintiffs and Co-Lead Counsel Have
                      Adequately Represented the Settlement Class

       Plaintiffs incorporate by reference the Rule 23(e)(2)(A) arguments set out in the Deutsche

Bank Memo.




                                                9
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 16 of 22



                      Rule 23(e)(2)(C) – the Monetary Relief, Cooperation, and
                      Remediation Measures Provided by Deutsche Bank Are Adequate,
                      Taking into Account the Costs and Risks of Further Litigation and All
                      Other Relevant Factors

       To assess whether the relief is adequate, Rule 23(e)(2)(C) requires the Court to consider:

       (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any
       proposed method of distributing relief to the class, including the method of
       processing class-member claims; (iii) the terms of any proposed award of
       attorney’s fees, including timing of payment; and (iv) any agreement required to
       be identified under Rule 23(e)(3).

FED. R. CIV. P. 23(e)(2)(C)(i-iv). Plaintiffs previously discussed Rule 23(e)(2)(C)(i) in Sections

I.B.1, I.B.4, and I.B.5,6 supra. The remaining Rule 23(e)(2)(C) factors support preliminarily

approving the Settlement.

                      a.      Rule 23(e)(2)(C)(ii) – Effectiveness of Any Proposed
                              Method of Distributing Relief to the Class

       Plaintiffs incorporate by reference the Rule 23(e)(2)(C)(ii) arguments set out in the

Deutsche Bank Memo.

                      b.      Rule 23(e)(2)(C)(iii) – the Terms of Any Proposed
                              Award of Attorneys’ Fees

       Plaintiffs incorporate by reference the Rule 23(e)(2)(C)(iii) arguments set out in the

Deutsche Bank Memo.7




6
        Grinnell factors 1, 4, 5, and 6 are subsumed by the new Rule 23(e)(2)(C)(i), which
analyzes the costs, risks, and delay of trial and appeal. Payment Card, 330 F.R.D. at 36 (noting
that this assessment implicates several Grinnell factors, including: (i) the complexity, expense
and likely duration of the litigation; (ii) the risks of establishing liability; (iii) the risks of
establishing damages; and (iv) the risks of maintaining the class through the trial, and
considering each Grinnell factor in its analysis).
7
       There are no fee-sharing agreements to disclose pursuant to Local Civil Rule 23.1.



                                                10
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 17 of 22



                      c.     Rule 23(e)(2)(C)(iv) – Any Agreement Required to Be
                             Identified Under Rule 23(e)(3)

       The sole agreement required to be disclosed under Rule 23(e)(3) is a “Supplemental

Agreement” the Parties executed that provides FTN with the qualified right to withdraw or

terminate the Settlement upon the occurrence of certain conditions. Burke Decl., Ex. 1, ¶44.

This qualified right arises if potential Settlement Class Members who meet certain criteria

exclude themselves from the Settlement Class. Id. To determine whether certain conditions are

met, the Parties have the right, but not the obligation, to subpoena putative Settlement Class

Members that exclude themselves for documents pertinent to the threshold. Burke Decl., Ex. 1,

¶45. These types of agreements are common in class action settlements and are generally

allowed to remain confidential because “knowledge of the specific number of opt outs that will

vitiate a settlement might encourage third parties to solicit class members to opt out.” See

generally MANUAL FOR COMPLEX LITIGATION (4th) §21.631; see also Fed. R. Civ. P. 23(e), 2003

Advisory Committee Note, Subdivision (e).

                      Rule 23(e)(2)(D) – the Settlement Treats Class Members Equitably
                      Relative to Each Other

       Plaintiffs incorporate by reference the Rule 23(e)(2)(D) arguments set out in the Deutsche

Bank Memo.

II.    CERTIFICATION OF THE SETTLEMENT CLASS IS WARRANTED

       Plaintiffs incorporate by reference the Settlement Class certification arguments set out in

the Deutsche Bank Memo.

III.   THE PROPOSED MANNER OF NOTICE IS THE BEST NOTICE
       PRACTICABLE UNDER THE CIRCUMSTANCES

       Rule 23(e)(1)(B) provides that, “[t]he court must direct notice in a reasonable manner to

all class members who would be bound by the proposal.” Where, as here, notice is to be



                                               11
        Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 18 of 22



provided to a settlement class certified under Rule 23(b)(3), the Court is required to “direct to

class members the best notice that is practicable under the circumstance[s].” FED. R. CIV. P.

23(c)(2)(B). “The standard for the adequacy of a settlement notice in a class action under either

the Due Process Clause or the Federal Rules is measured by reasonableness.” Wal-Mart Stores,

396 F.3d at 113. The proposed notice plan is described below and also summarized by the

Claims Administrator8 in Exhibit 3 to the Burke Decl.

       Plaintiffs propose to send via first class mail the Mail Notice and Claim Form (together,

the “Notice Packet”) (attached as Exhibits 1 and 2 to the proposed Preliminary Approval Order)

to potential members of the Settlement Class. Deutsche Bank and FTN agreed to supply the

names and addresses of potential Settlement Class Members who or which can be identified

based on records within the banks’ possession. Plaintiffs have requested parallel information

from the other Defendants and are conferring with them in an attempt to reach an agreement. In

addition, Co-Lead Counsel and the Claims Administrator have undertaken additional research to

identify potential Settlement Class Members, including lists of large traders in GSE Bond

Transactions (identified by Bloomberg), regional banks (available from the Federal Home Loan

Bank’s membership list), and credit unions.

       In addition, the Claims Administrator will implement a robust nominee mailing process

that will further facilitate the distribution of notice to potential members of the Settlement Class.

8
       Plaintiffs propose that the Court authorize A.B. Data, Ltd. (“A.B. Data”) to be the Claims
Administrator. Plaintiffs selected A.B. Data following a multi-party RFP process. A.B. Data
was the lowest cost provider and has experience in administering class action settlements
involving non-standard securities in over-the-counter and exchange markets (e.g., Laydon v.
Mizuho Bank, Ltd., No. 12-cv-3419 (S.D.N.Y) and Sonterra Capital Master Fund, Ltd. v. UBS
AG, No. 15-cv-5844 (S.D.N.Y.) (Euroyen-based derivatives); Sullivan v. Barclays plc, No. 13-
cv-2811 (S.D.N.Y.) (Euribor products); In re Libor-Based Fin. Instruments Antitrust Litig., No.
11-md-2262 (NRB) (exchange-based products); In re Crude Oil Commodity Futures Litig., No.
11-cv-3600 (S.D.N.Y.) (exchange-traded products)).



                                                 12
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 19 of 22



The Claims Administrator maintains a database of the approximately 5,000 of the largest and

most common banks, brokers, and other nominees who are responsible for conducting financial

transactions, including GSE Bond Transactions, on behalf of others.

       In addition to mailing Notice Packets, Plaintiffs propose that the Publication Notice

(attached as Exhibit 3 to the proposed Preliminary Approval Order) will be published in

international financial news outlets (The Wall Street Journal, The New York Times, Financial

Times, and The Bond Buyer) and as a global press release through PR Newswire, which

distributes to the news desks of more than 10,000 newsrooms, including print, broadcast, and

digital websites. The Claims Administrator will establish and maintain a Settlement Website,

where Settlement Class Members can obtain detailed information about the case and the

Settlements.   The Claims Administrator will also purchase banner ads on Zacks.com and

Barchart.com, linking to the Settlement Website.       Finally, the Claims Administrator will

establish a telephone helpline and monitor an email address to which Settlement Class Members

may write.

       Such multi-faceted notice programs combining individual mail notice and publication

notice have been approved by federal courts in numerous complex class actions. See, e.g., Wal-

Mart Stores, 396 F.3d at 105 (affirming “notice plan that required mailing the settlement notice

to class members and publishing a condensed version of the settlement notice in numerous

widely-distributed publications”). Accordingly, Plaintiffs respectfully request that the Court

approve the proposed manner of effectuating notice.

IV.    THE FORMS OF NOTICE ARE REASONABLE

       The Mail Notice exceeds the requirements of Rule 23(c)(2)(B), as it provides Settlement

Class Members, in “plain, easily understood language,” with descriptions of the nature of the

Action, including the claims and defenses at issue; the definition of the Settlement Class; how


                                              13
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 20 of 22



and when to object and opt out; and the binding effect of the Judgments, if the Court approves

the Settlements. Further, the Publication Notice will be widely disseminated, further supporting

the reasonableness of the notice. Accordingly, Plaintiffs respectfully request that the Court

approve the proposed forms of notice.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order

preliminarily approving the Settlements and authorizing notice.

Dated: September 24, 2019

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                                               14
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 21 of 22



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Commonwealth of Pennsylvania




                                                15
       Case 1:19-cv-01704-JSR Document 266 Filed 09/24/19 Page 22 of 22



                                CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.


                                             s/ Christopher M. Burke
                                             Christopher M. Burke




                                                16
